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                     EXHIBIT A
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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                    APPLICATION FOR PRO HAC VICE ADMISSION

                                  CONTACT INFORMATION

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Pro hac vice applicants who intend to                 ☐ Admission by Bar Examination
become a member of the Utah State Bar,                ☐ Admission by UBE Transfer
please identify the type of admission are             ☒ Motion/Reciprocal
you seeking?

                                     BAR MEMBERSHIP

                 Jurisdiction                      Bar Number          Date of Admission
Texas                                          24051663               November 2, 2007




                                              1
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 Have you ever been the subject of disciplinary action      ☐ Yes              ☒ No
 by any bar to which you have been admitted?

If yes, please explain:




            LIST ALL PRO HAC VICE ADMISSIONS TO THE DISTRICT OF UTAH

                   Case Name                            Case Number        Date of Admission
 N/A




 I certify that I am a member in good standing              ☒ Yes              ☐ No
 of all bars to which I have been admitted.

 I certify that I have read and will comply with            ☒ Yes              ☐ No
 the Utah Rules of Professional Conduct and
 the Utah Standards of Professionalism and
 Civility.

 I certify that the foregoing is true and correct           ☒ Yes              ☐ No
 and is subject to the penalty of perjury.



_______________________________                             October 12, 2021
Signature                                                   Date




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